                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



 CONCORD MUSIC GROUP, INC., ET AL.,

       Plaintiffs,                           Case No. 3:23-cv-01092

 v.                                          Chief Judge Waverly D. Crenshaw, Jr.
                                             Magistrate Judge Alistair Newbern
 ANTHROPIC PBC,

       Defendant.


                 DECLARATION OF STEVEN R. PETERSON, PHD
                IN SUPPORT OF DEFENDANT’S OPPOSITION TO
             PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION




Case 3:23-cv-01092     Document 67-19   Filed 01/16/24   Page 1 of 25 PageID #: 3206
                                           TABLE OF CONTENTS
I.               Qualifications and Assignment ........................................................................................... 1
      A.            Qualifications .................................................................................................................. 1
      B.            Assignment and Materials Used ..................................................................................... 2
II.              Summary of Opinions ......................................................................................................... 2
III.             Anthropic and the Claude Model ........................................................................................ 4
IV.              There Is Not an Incipient Competitive Market to License Text to Train LLMs ................ 6
      A.            The Hypothetical Competitive Market to License Training Data .................................. 8
           i)          A Hypothetical Competitive Market for Licenses Covering Training Data ............... 8
           ii)         Training Requires Large Amounts of Data Relative to the Size of Even a Large
                       Publisher’s Archive; Each AI Firm Would Need Thousands of Licenses................ 11
           iii)        License Rates for Training Data Would Be Low ...................................................... 14
           iv) Negotiation and Transactions Costs in the Hypothetical Market Would Be High and
                 Would Be Elevated by Uncertainty Regarding the Value of a Licenses .................. 16
      B.            The Agreements Plaintiffs Have Identified Do Not Indicate that There Is an Incipient
                    Market to License Training Data .................................................................................. 18
      C.            Using Song Lyrics to Train LLMs Does Not Threaten Plaintiffs’ Existing Licenses .. 22




                                                                             i
Case 3:23-cv-01092                        Document 67-19                   Filed 01/16/24               Page 2 of 25 PageID #: 3207
                                   Expert Report of Steven R. Peterson

I.      QUALIFICATIONS AND ASSIGNMENT

            A.      Qualifications

            1.      My name is Steven R. Peterson. I am an Executive Vice President at Compass

     Lexecon. Compass Lexecon is an economics consulting firm that specializes in the economics of

     competition, finance, and regulation, among other areas. I received my A.B. in economics from

     the University of California, Davis, in 1987 and my Ph.D. in economics from Harvard University

     in 1992. While at Harvard, my areas of specialization were economic theory and industrial

     organization. Industrial organization is the study of the interactions of larger firms that can

     strategically influence the markets in which they operate. I have also served as an adjunct faculty

     member in the Department of Economics at Northeastern University where I taught courses on the

     economics of antitrust, regulation, and public policy.

            2.      I have consulted on the economics of antitrust and competition, mergers, estimation

     of damages, valuation, regulation, and public policy. I have extensive experience with the policy

     and economics of copyrights. I testified on behalf of the Radio Music License Committee

     (“RMLC”) on issues of market definition and market power in Radio Music License Committee v.

     SESAC, Inc., SESAC, LLC, and SESAC Holdings, Inc., and I testified on public performance license

     rates for radio in the subsequent arbitration proceedings. I addressed similar issues in RMLC’s

     litigations against Global Music Rights (“GMR”) and Broadcast Music, Inc. I also testified before the

     United States Copyright Royalty Judges, Library of Congress, regarding appropriate rates for

     digital public performances of sound recordings in the Web IV (on behalf of the National

     Association of Broadcasters) and Web V (on behalf of Google) proceedings. I submitted comments

     on behalf of the National Association of Broadcasters addressing the Department of Justice’s

     review of the American Society of Composers, Authors and Publishers (“ASCAP”) and Broadcast
                                                                                                        1

Case 3:23-cv-01092            Document 67-19         Filed 01/16/24      Page 3 of 25 PageID #: 3208
      Music, Inc. (“BMI”) consent decrees.1 A true and correct copy of my curriculum vitae is attached

      as Exhibit A.

             B.       Assignment and Materials Used

             3.       Counsel for Anthropic PBC has asked me to evaluate the effects of using Plaintiffs’

      song lyrics as training data for Anthropic’s large language model (“LLM”) on the potential market

      to license text and/or song lyrics to train LLMs. My analysis focuses exclusively on the use of

      song lyrics as inputs for training LLMs to generate new text, which I understand to be the primary

      and prevalent use of LLMs like Anthropic’s signature product, Claude.

             4.       To perform my analysis, I have used materials provided in discovery2, academic

      articles, and other public information.

II.       SUMMARY OF OPINIONS

             5.       The claim that there is an incipient market for training licenses implicitly assumes

      that such a market is economically viable. Economic analysis shows that the hypothetical

      competitive market for licenses covering data to train cutting-edge LLMs would be impracticable.

      This conclusion is based on the following subordinate conclusions.

                  a) In a competitive market for licenses to train LLMs, the highest price that an

                      artificial intelligence (“AI”) company would pay is the increase in value of the

                      model created by the addition of the licensor’s content to the training dataset.


      1
             ASCAP, BMI, SESAC, and GMR are performing rights organizations (“PROs”) that
             aggregate and license public performance rights in music compositions controlled by
             publishers like the plaintiffs in this proceeding.
      2
             I understand that Plaintiffs’ have represented they will be providing “rolling” productions
             in connection with Anthropic’s discovery requests related to the pending preliminary
             injunction motion. Moreover, on January 14, 2024, Plaintiffs produced about an additional
             75 agreements and amendments that I have not had the opportunity to analyze in detail. I
             reserve the right to update my analysis and opinions in this declaration as necessary to
             reflect my ongoing review of Plaintiffs’ production.
                                                                                                       2

 Case 3:23-cv-01092             Document 67-19         Filed 01/16/24      Page 4 of 25 PageID #: 3209
             b) Incremental contributions to the value of the LLM by individual copyright owners

                would be small.

             c) Copyright owners’ opportunity costs of licensing for training purposes is zero or

                near zero.

             d) The rates for licenses for data to train LLMs would be low in a hypothetical

                competitive market.

             e) To successfully acquire data to train a cutting-edge LLM, AI firms would need to

                license with thousands of publishers and likely millions of copyright owners of

                material on the internet. The negotiation and administration costs of acquiring

                licenses in a hypothetical competitive market for licenses covering training data

                would be high relative to the value of licensors’ individual contributions.

             f) Each parties’ uncertainty regarding the value of a license for training data to the

                other will contribute to the failure of some negotiations, raising negotiating costs.

        6.      Given the vast amount of information required to train LLMs and the practical

difficulties associated with licensing enough individual works to amass such information in a

competitive market, LLMs would likely not exist if AI firms were required to license the works in

their training datasets.

        7.      The agreements that Plaintiffs’ expert Professor Smith adduces as evidence of AI

firms licensing content either do not cover data to train LLMs or appear to provide consideration

other than training rights. Even when taken as presented by Professor Smith, the existence of these

agreements does not indicate that there is an incipient market for licenses covering data to train

LLMs.




                                                                                                    3

Case 3:23-cv-01092           Document 67-19      Filed 01/16/24      Page 5 of 25 PageID #: 3210
III.   ANTHROPIC AND THE CLAUDE MODEL

          8.      Anthropic is an AI company that develops AI models known as LLMs.3 LLMs

   process large amounts of text in order to “understand” how words work together and use that

   “learning” to produce text of its own, typically in response to a user-generated prompt. When

   developing an LLM, engineers first create a “neural network,” a type of software that analyzes

   large datasets and extracts statistical information from language to better understand how language

   works.4 LLMs “learn” how to recognize, interpret, and generate language through a “training”

   process that enables them to identify relationships and patterns between words.5 Anthropic’s

   LLM, called “Claude,” is trained on data compiled from the Internet, non-public datasets that are

   commercially obtained, data from users and service providers, and internally generated data.6

   Anthropic estimates that the current version of Claude, known as Claude 2, was trained on a dataset

   of billions of texts.7 These texts contained roughly              tokens, which are fragments of

   words in the texts, and are used in the training process. The                  tokens are roughly




   3
          See, https://www.anthropic.com/ (accessed 1/5/2024) (“Anthropic is an AI safety and
          research company based in San Francisco. Our interdisciplinary team has experience
          across ML, physics, policy, and product. Together, we generate research and create
          reliable, beneficial, AI systems.”)
   4
          Declaration of Jared Kaplan in Support of Defendant’s Opposition to Plaintiffs’ Motion for
          Preliminary Injunction (“Kaplan Declaration”), ¶¶ 13-16.
   5
          Kaplan Declaration, ¶ 16; “Public Comments of Anthropic PBC,” Before the United States
          Copyright Office, Notification of Inquiry Regarding Artificial Intelligence and Copyright,
          October 30, 2023 (“Anthropic Comments”), p 6.
   6
          Anthropic Comments, p. 5.
   7
          Kaplan Declaration, ¶ 22.
                                                                                                    4

  Case 3:23-cv-01092        Document 67-19        Filed 01/16/24      Page 6 of 25 PageID #: 3211
equivalent to roughly          words.8

                 .9

       9.      Training datasets are large because the goal of training is for the model to identify

patterns and relationships between words. Therefore, training depends on the volume and diversity

of text.10 Testing shows that LLMs trained on larger volumes of data were more adept at the

generative tasks (such as creating new expressions).11

       10.     Once trained, LLMs are able to perform a range of natural language processing

tasks.12 According to Anthropic, “Claude is a next-generation AI assistant.”13 Claude’s use cases

include: customer service,14 parsing legal documents,15 general advice or coaching,16 summarizing



8
       See, e.g., “What are tokens and how to count them?” OpenAI, available at
       https://help.openai.com/en/articles/4936856-what-are-tokens-and-how-to-count-them
       (accessed 1/14/2024).
9
       Kaplan Declaration, ¶ 43.
10
       Kaplan Declaration, ¶¶ 18-19.
11
       “Tracing Model Outputs to the Training Data,” August 8, 2023 (“[P]atterns of
       generalization became more abstract with model scale.”) available at
       https://www.anthropic.com/index/influence-functions (accessed 1/14/2024).
12
       See Kaplan Declaration, ¶¶ 9, 19.
13
       https://www.anthropic.com/product (accessed 1/5/2024). Anthropic emphasizes its Claude
       models’ abilities to perform content generation tasks, including “complex reasoning,”
       “thoughtful dialogue,” “coding,” “detailed content creation,” “text analysis,”
       “summarization,” and “document comprehension.”
14
       https://www.anthropic.com/product (accessed 1/5/2024) (“Claude ensures speedy and
       friendly resolution to customer service requests, saving costs and increasing satisfaction.
       Claude can also be taught when to hand off tasks to a human CSR, enabling your team to
       focus on the most complex challenges.”).
15
       https://www.anthropic.com/product (accessed 1/5/2024) (“Claude is able to parse legal
       documents and answer questions about them. Lawyers can reduce costs and focus on
       higher level work.”).
16
       https://www.anthropic.com/product (accessed 1/5/2024) (“Claude can be an always-
       available active listening companion for personal growth as well as career development,
       providing a space to listen or give advice.”).
                                                                                            5

Case 3:23-cv-01092       Document 67-19        Filed 01/16/24      Page 7 of 25 PageID #: 3212
  results from Internet search, 17 back-office tasks, 18 and sales. 19,20 In addition, analysis of how

  Claude is used reveals that users rely on Claude to edit, rewrite, and brainstorm on original writing

  projects, such as scripts, novels, and poems.21 Notably, each of the use cases that Anthropic

  describes is generative—that is, Claude is not designed to simply regurgitate text or facts, but to

  use its “knowledge” to help users more efficiently access, understand, and convey information.22

IV.    THERE IS NOT AN INCIPIENT COMPETITIVE MARKET TO LICENSE TEXT
       TO TRAIN LLMS

         11.     Plaintiffs allege that Anthropic’s use of their text for training purposes “will

  irreparably damage Publishers’ competitive position and their ability to negotiate future licenses

  with AI developers.”23 This claim presupposes the existence of a competitive market for licenses

  covering text used to train LLMs. However, Plaintiffs have produced no evidence that there is an



  17
         https://www.anthropic.com/product (accessed 1/5/2024) (“Claude is able to integrate
         seamlessly into web search as well as private search over knowledge bases, synthesizing
         search results triggered by user questions into natural language answers.”).
  18
         https://www.anthropic.com/product (accessed 1/5/2024) (“Claude is able to handle a wide
         range of rote office work. It can extract relevant information from emails and documents,
         categorize and summarize survey responses, and generally wrangle reams of text with high
         speed and accuracy.”).
  19
         https://www.anthropic.com/product (accessed 1/5/2024) (“Claude can act as an always-on
         and enthusiastic virtual sales representative, answering customer questions and guiding
         them towards products that meet their needs. Customize Claude with your brand’s
         personality and tone.”).
  20
         See also, Anthropic Comments, p. 2 (“Claude tends to perform well at general, open-ended
         conversation; search, writing, editing, outlining, and summarizing text; coding; and
         providing helpful advice about a broad range of subjects…Claude is designed to serve as
         a creative companion, to enable people to produce new works (emphasis added).”);
         Anthropic Comments, pp. 3-4, describing examples of productivity-enhancing uses of
         Claude since its launch.
  21
         Kaplan Declaration, ¶ 10.
  22
         Kaplan Declaration, ¶ 28.
  23
         Memorandum of Law in Support of Plaintiffs’ Motion for Preliminary Injunction,
         November 16, 2023, p. 26.
                                                                                     6

  Case 3:23-cv-01092       Document 67-19         Filed 01/16/24      Page 8 of 25 PageID #: 3213
Case 3:23-cv-01092   Document 67-19   Filed 01/16/24   Page 9 of 25 PageID #: 3214
 claims over their posts, the number of licenses needed would be in the millions.25 The small

 contribution of each licensor’s content to the value of the LLM would lead to low license rates for

 even large licensors. Nevertheless, the cost to negotiate and manage the required licenses would

 be high, even assuming all the needed copyright owners could be identified. In addition, licensees’

 and licensors’ uncertainty regarding the contribution of the data being licensed to the value of the

 LLM would lead to some negotiations failing, raising negotiation costs and reducing the

 availability of training material. Such a market would not be a practicable means for AI firms to

 acquire text for training purposes.

        15.     The few agreements that Plaintiffs’ expert Professor Smith describes are not

 relevant to the licensing market at issue and do not support the conclusion that there is an incipient

 market to license training data (text) for LLMs. And they do not demonstrate the viability of a

 market to license training data were such licenses required for all copyrighted works in LLM

 training datasets.

        A.      The Hypothetical Competitive Market to License Training Data

                1.      A Hypothetical Competitive Market for Licenses Covering Training
                        Data

        16.     This section describes the characteristics of competitive input markets to establish

 an economic framework in which a competitive market to license training data would function.

        17.     Training data is an input into the development of LLMs. In competitive markets

 for inputs, the price—or in this case the license rate—for each input is equal to the incremental




 25
        See, e.g., “Are Tweets Protected by Copyright?,” Copyright Alliance, available at
        https://copyrightalliance.org/faqs/tweets-protected-
        copyright/#:~:text=As%20for%20who%20owns%20the,on%20or%20through%20the%2
        0Services. (accessed 1/13/2024).
                                                                                       8

Case 3:23-cv-01092        Document 67-19         Filed 01/16/24      Page 10 of 25 PageID #: 3215
 value that it creates (i.e., the marginal revenue product).26 In the context of negotiations to license

 training data from copyright owners, this principle implies that the highest amount an AI firm

 would be willing to pay to add a copyright owner’s data to its training database is the increase in

 the value of the model that results from the addition of that particular training data. Real-world

 negotiations would settle on license rates lower than the AI firm’s willingness to pay for the data

 and higher than the lowest amount that the licensor would accept to grant the license. In a workable

 competitive market, each copyright owner must anticipate that it is licensing content to train an AI

 model that will exist whether the individual copyright owner licenses or not. In this circumstance,

 each licensor’s cost of granting the license, including opportunity costs, is essentially zero because

 most uses of the model will be in areas unrelated to the licensed content and the contribution of

 the copyright owner’s content to the model has no discernable effect on the operation of the

 model.27

        18.     Many existing training datasets come largely from sources on the Internet.28 The

 copyrights in existing training datasets containing text from the Internet are not well documented,

 which makes licensing the data in existing datasets impracticable or effectively impossible.29 This


 26
        See “Principles of Microeconomics” Seventh Edition, N. Gregory Mankiw p. 377,
        (“Economists sometimes call this column of numbers the firm’s marginal revenue product:
        It is the extra revenue the firm gets from hiring an additional unit of a factor of
        production.”)
 27
        Each individual copyright owner’s contribution is small and content in the training corpus
        is fungible. Kaplan Declaration, ¶ 19.
 28
        Jesse Dodge, et al., “Documenting Large Webtext Corpora: A Case Study on the Colossal
        Clean Crawled Corpus,” Paul G. Allen School of Computer Science & Engineering,
        University of Washington, September 2021 ( arXiv:2104.08758v2 ).
 29
        Shayne Longpre, et al., “The Data Provenance Initiative: A Large Scale Audit of Dataset
        Licensing & Attribution in AI,” Data Provenance Initiative, November 2023,
        (arXiv:2310.16787v3), p. 2; Jesse Dodge, et al., “Documenting Large Webtext Corpora:
        A Case Study on the Colossal Clean Crawled Corpus,” Paul G. Allen School of Computer

                                                                                                      9

Case 3:23-cv-01092        Document 67-19         Filed 01/16/24       Page 11 of 25 PageID #: 3216
 problem is potentially still more difficult to address when multiple owners share ownership of a

 copyright. For example, co-ownership is a well-documented challenge when it comes to licensing

 musical compositions. Owners of musical compositions and their agents have been vocal about

 their practice and expectation that licensees procure licenses from all co-owners of musical

 compositions, meaning that several licenses may be required to secure the required rights to one

 song.30

           19.    If scraping data from the Internet and matching it to licenses is unworkable, then

 training databases would be limited to affirmatively licensed data provided by licensors. Thus, the

 competitive market for licenses covering training data would entail each AI firm affirmatively

 licensing its training data from individual known copyright owners, which could be publishers that

 own catalogs of copyrighted works or individual copyright owners, such as book authors, bloggers,

 or creators of social media.

           20.    As described below, negotiating and administering the large number of licenses

 required to train a cutting-edge LLM would be costly. There would be no cost-effective way to

 reliably identify and contact all of the copyright owners to license their works, given the tiny

 contribution of each copyright owner’s work to the value of the LLM. In fact, it may be impossible

 to identify and contact the copyright owners of many works because a work may be “orphaned,”

 meaning its copyright owner cannot reliably be identified or contacted even with diligent effort.31


           Science    &    Engineering,     University    of    Washington,     September      2021
           ( arXiv:2104.08758v2 ).
 30
           Comments by the National Music Publisher’s Association Submitted in Response to U.S.
           Department of Justice Antitrust Division September 22, 2015, Solicitation of Public
           Comments Regarding PRO Licensing of Jointly Owned Works, available at
           https://www.justice.gov/atr/public/ascapbmi2015/ascapbmi22.pdf.
 31
           “Orphan Works and Mass Digitization,” United States Copyright Office, June 2015, p. 1,
           available at https://www.copyright.gov/orphan/reports/orphan-works2015.pdf (“a user’s

                                                                                                 10

Case 3:23-cv-01092         Document 67-19        Filed 01/16/24     Page 12 of 25 PageID #: 3217
 Taken together, these considerations imply that an AI firm could not successfully (i.e.,

 comprehensively) license an LLM’s entire training dataset in a competitive market for licenses.

         21.     Transaction costs might be reduced if copyright owners banded together to

 negotiate licenses. However, if multiple licensors were to combine to negotiate as a group, that

 group would be a cartel. The impact of the cartel on prices would depend on its size relative to

 the size of the training data and the ability of AI firms to be successful if they did not have a license

 from the cartel. In any event, cartels are inconsistent with a hypothetical competitive market to

 license training data.

                 2.       Training Requires Large Amounts of Data Relative to the Size of Even
                          a Large Publisher’s Archive; Each AI Firm Would Need Thousands of
                          Licenses

         22.     The hypothetical competitive market to license training data would require

 thousands of negotiations by each AI firm with large and small publishers – and potentially

 millions of negotiations with individual owners of material on the Internet.32

         23.     LLMs such as Claude and ChatGPT require large amounts of text for training. The

 most recent version of Claude was trained on approximately

                                 .33



         ability to seek permission or to negotiate licensing terms is compromised by the fact that
         despite his or her diligent efforts, the user cannot identify or locate the copyright owner.
         Second, in the case of mass digitization – which involves making reproductions of many
         works, as well as possible efforts to make the works publicly accessible – obtaining
         permission is essentially impossible, not necessarily because of the lack of identifying
         information or the inability to contact the copyright owner, but because of the sheer number
         of individual permissions required. (emphasis added)”). See also p. 38 (“Studies of library
         collections of printed, published books and similar works estimate that between 17% and
         25% of published works and as much as 70% of specialized collections are orphan works.”).
 32
         Anthropic Comments, pp 9-10.
 33
         For reference, one trillion is equal to one million multiplied by one million, or 10 raised to
         the power of 12 (i.e., 1012).
                                                                                                    11

Case 3:23-cv-01092         Document 67-19         Filed 01/16/24       Page 13 of 25 PageID #: 3218
                                                                       .34 Press reports indicate that

 OpenAI’s most recent version of Chat GPT was trained on approximately 13 trillion “tokens,”

                                                  tokens used in the training dataset used to train the

 current version of Claude.35

        24.      The economic consequence of the size of training datasets is that they are

 significantly larger than the archives of even the largest publishers.

              a) NYT Archive. If the New York Times averages, say, 150,000 words each day,

                 then a 100-year archive of the Times would contain just under 5.5 billion words –

                 less than         of the words used to train the current version of Claude. Put

                 differently, more than        archives of the size of the Times would be needed to

                 compile a text dataset equal to the size of the Claude training dataset, and still

                 more would be needed to train the next version of Claude.

              b) Song Publishers. The larger song publishers among the Plaintiffs claim to have

                 between one million and 5.5 million songs in their catalogs.36 Other song



 34
        Kaplan Declaration, ¶ 43.
 35
        “GPT-4 architecture, datasets, costs and more leaked,” The Decoder, July 11, 2023,
        available at https://the-decoder.com/gpt-4-architecture-datasets-costs-and-more-leaked/
        (accessed 1/6/2024). A token is a group of letters that is typically shorter than the typical
        English word.
 36
        “The Three Major Music Publishers Now Own or Control Over 10 million Songs between
        Them (Kind of)” Music Business Worldwide, October 20, 2022, available at
        https://www.musicbusinessworldwide.com/the-three-major-music-publishers-now-own-
        or-control-over-10-million-songs-between-them-kind-
        of/#:~:text=Sony's%20global%20music%20publishing%20operation,more%20than%201
        %20million%E2%80%9D%20songs (accessed 1/7/2024). (“The ‘kind of’ disclaimer in
        our headline above is in there because these are the separate figures reported by each of the
        major music companies and their parent companies. What these numbers don’t tell us is
        how many of these songs are duplicates i.e. [sic] are administered by two or even all three
        of the major publishers, due to them having multiple writers represented by different
        companies.”).
                                                                                                   12

Case 3:23-cv-01092           Document 67-19      Filed 01/16/24       Page 14 of 25 PageID #: 3219
              publishers presumably have fewer songs in their libraries. If a typical song has

              300 words,37 then a large Plaintiff with a one-million song library could

              contribute 300 million words, or             of the database used to train the current

              version of Claude (assuming it owns the rights to enter such a license). More than

                      song publishers with one-million song libraries would be needed to create

              a database of the size used to train the current version of Claude. Licensing many

              songs could be still more administratively costly as the result of many songs’

              copyrights being fractionally owned by multiple writers, publishers, or investors.

          c) All the Books in the World. Google estimated in 2010 that there were

              approximately 130 million books in the world.38 These books may not all have

              fully unique text – that is, some may be different copies of the same play with

              different commentary, for example. However, if each book were unique and had

              on average 100,000 words, roughly the number of words in a typical modern

              novel, all the books in the world would contain 13 trillion words.




 37
       See, e.g., William Wier, “Words Words Words, Are excessive lyrics ruining pop music?”
       Slate, March 11, 2008, available at https://slate.com/culture/2008/03/are-excessive-lyrics-
       ruining-pop-music.html (accessed 1/14/2024).
 38
       Leonid Taycher, “Books of the world, stand up and be counted! All 129,864,880 of you,”
       Google        Book         Search,      August        5,       2010,       available        at
       https://booksearch.blogspot.com/2010/08/books-of-world-stand-up-and-be-counted.html
       (accessed 1/7/2024) (Discussing the difficulty of identifying unique books, “One definition
       of a book we find helpful inside Google when handling book metadata is a ‘tome,’ an
       idealized bound volume. A tome can have millions of copies (e.g., a particular edition of
       ‘Angels and Demons’ by Dan Brown) or can exist in just one or two copies (such as an
       obscure master’s thesis languishing in a university library). This is a convenient definition
       to work with, but it has drawbacks. For example, we count hardcover and paperback books
       produced from the same text twice, but treat several pamphlets bound together by a library
       as a single book.”).
                                                                                                  13

Case 3:23-cv-01092      Document 67-19         Filed 01/16/24      Page 15 of 25 PageID #: 3220
                                                  .39

        25.     These calculations show that, if a hypothetical competitive market to license data

 for training LLMs were to exist, Anthropic and each of the other companies building LLMs would

 need to license data from thousands of large publishers. When the fact that many copyrights are

 held by individual authors40 and authors’ individual copyright interests in blog posts and other

 material on the internet are considered, AI firms would need to license content from millions of

 individual copyright owners to acquire the data needed to train a cutting-edge general LLM,

 without infringing. Moreover, the copyright owners of a substantial number of works cannot be

 identified even with a diligent search. And the next generation of LLMs is expected to be trained

 on still larger datasets, increasing the complexity of the licensing problem.

                3.      License Rates for Training Data Would Be Low

        26.     Competitive rates for licenses covering training data would be low in a hypothetical

 competitive licensing market. Training LLMs depends primarily on the quantity and diversity of

 text available.41 The texts from different copyright owners used to train LLMs, such as Claude,

 each individually make a tiny contribution to the whole and, in addition, are fungible. 42 Put


 39
        See Kaplan Declaration, ¶ 23.
 40
        Book publishers, for example, may not control the rights required to provide training
        licenses, and negotiations with individual copyright owners would be needed to acquire
        rights to their works. Lucio Lanucara, “Who Owns the Copyright to Published Works?”
        The Michelson Institute for Intellectual Property, September 27, 2021, available at
        https://michelsonip.com/who-owns-the-copyright/ (accessed 1/13/2024) (“In the United
        States, the Copyright Act (Title 17 US Code) states that intellectual property belongs to the
        author, unless otherwise specified in a publishing contract.”).
 41
        Kaplan Declaration, ¶¶ 18-29.
 42
        Kaplan Declaration, ¶ 19.
                                                                                                  14

Case 3:23-cv-01092        Document 67-19        Filed 01/16/24      Page 16 of 25 PageID #: 3221
 differently, an AI firm could exclude one copyright owner’s data from a training set, or exclude

 the copyright owner’s data and replace it with alternative data, without materially affecting the

 value of the LLM.43 This implies that AI firms place a low value on incremental data for their

 training datasets – that is, they have a low willingness to pay for training data at the margin.

        27.     As described above, in a competitive market to license training materials, the

 negotiated license rate between an AI firm and a licensor would be less than the anticipated

 increase in the value of the LLM resulting from the addition of the licensor’s data to the training

 dataset. As a result, license rates in the hypothetical competitive market would be low.

        28.     As described above, a Plaintiff with a 1 million song catalog could offer Anthropic

           of the content needed to train the current version of Claude

                                                         . The incremental value of the content held

 by a large music publisher is small compared to the quantities of data that could be obtained from

 other publishers, but even they have too little data to justify opening negotiations. For example,

 OpenAI reports that it explained to The New York Times in the course of their negotiations “that,

 like any single source, their content didn’t meaningfully contribute to the training of our existing

 models and also wouldn’t be sufficiently impactful for future training.”44 Individual authors with

 copyrights in books could license still smaller shares of the data required to train an LLM.

 Moreover, the interchangeability of copyright owners’ data puts the copyright owners in

 competition with each other to obtain licenses. With copyright owners facing competition among



 43
        Kaplan Declaration, ¶ 19; see OpenAI and journalism,” OpenAI, January 8, 2024, available
        at https://openai.com/blog/openai-and-journalism (accessed 1/13/2024).
 44
        “OpenAI       and    journalism,”      OpenAI,     January     8,   2024,     available   at
        https://openai.com/blog/openai-and-journalism (accessed 1/13/2024). OpenAI describes
        its negotiations with the times as not addressing training uses. Negotiations were “focused
        on a high-value partnership around real-time display with attribution in ChatGPT[.]”
                                                                                                 15

Case 3:23-cv-01092        Document 67-19         Filed 01/16/24      Page 17 of 25 PageID #: 3222
 themselves and facing opportunity costs that are essentially zero for training uses of their content,

 negotiated license rates would be low.

                4.      Negotiation and Transactions Costs in the Hypothetical Market Would
                        Be High and Would Be Elevated by Uncertainty Regarding the Value
                        of a Licenses

        29.     Negotiating licenses to acquire training data would be administratively costly. The

 costs involved entail at least the cost of reaching agreement and the costs of continuing to track

 content and administer licenses.

        30.     The New York Times negotiated with OpenAI for months regarding non-training

 uses of its data to train OpenAI’s models.45 Thus, both OpenAI (and Microsoft) and The New York

 Times apparently invested substantial time in their effort to reach an agreement – and still failed.

 If The New York Times does not have sufficient data to make it worthwhile for OpenAI to expend

 the cost and effort to negotiate a license to train using The Times’ archives, the vast majority of

 publishers would not have content that is sufficiently valuable to justify the cost of entering into a

 training license. Moreover, any dataset large enough to be worth licensing has no value if the rest

 of the data needed to train the LLM is not available in the hypothetical competitive market.

        31.     Beyond the cost of negotiating licenses (i.e., agreeing to the terms of the deal) is

 the administrative burden of tracking the content that licenses cover. Fox Corp. reportedly

 “launched a blockchain platform called Verify…to help media organizations monitor how their

 content is used online.”46 “Fox Corp. intends to use the Verify Protocol to negotiate deals licensing




 45
        Complaint, The New York Times Company v. Microsoft Corporation, et al., December 27,
        2023, ¶ 7.
 46
        Natalie Korach, “Fox corp. Launches Verify Tool to Check Authenticity of Content,
        Negotiate with AI Firms,” The Wrap, January 9, 2024, available at
        https://www.thewrap.com/fox-corp-verify-tool-ai-negotiate-media-companies/.
                                                                                      16

Case 3:23-cv-01092        Document 67-19         Filed 01/16/24      Page 18 of 25 PageID #: 3223
 content from Fox networks to AI firms.”47 The implication is that Fox invested in a software tool

 in order to track what it has licensed to AI firms. The need for and benefits of a software tool

 indicate the complexity and cost of administering licenses. The costs of tracking licenses are both

 the cost of developing and maintaining the software tool and the cost of inputting data and

 managing the data in the tool (e.g., updating records to reflect changes of ownership of content).

 Addressing the administrability of managing copyrights, Anthropic’s Chief Science Officer also

 notes that excluding an ever-expanding list of song titles from Claude’s training database would

 “be impossible to achieve” in the course of Anthropic’s business. 48

        32.     A further complication in the hypothetical competitive market to license training

 data is that the incremental contribution to the value of an LLM created by a particular publisher’s

 data is known or verifiable for the parties to a hypothetical licensing negotiation. Uncertainty of

 this kind (i.e., when negotiators do not know the value of a deal to their negotiating partner), makes

 negotiations more likely to fail even when there are gains from reaching an agreement.49 Thus,

 poor information regarding the competitive value of a publisher’s training data to an AI firm

 implies that negotiations could fail to reach agreement. Time spent on negotiations that do not lead

 to agreement would make the hypothetical negotiations for licenses more costly and reduce the

 amount of training data available through the competitive market.




 47
        Natalie Korach, “Fox corp. Launches Verify Tool to Check Authenticity of Content,
        Negotiate with AI Firms,” The Wrap, January 9, 2024, available at
        https://www.thewrap.com/fox-corp-verify-tool-ai-negotiate-media-companies/.
 48
        Kaplan Declaration, ¶ 45.
 49
        See “Microeconomic Theory”, Andreu Mas-Colell, Michael Whinston, and Jerry Green p.
        895 (“Whenever gains from trade are possible, but not certain, there is no ex post efficient
        social choice function that is both Bayesian incentive compatible and satisfies these interim
        participation constraints.”
                                                                                                   17

Case 3:23-cv-01092        Document 67-19         Filed 01/16/24      Page 19 of 25 PageID #: 3224
        33.     In short, given the vast amount of information required to train LLMs and the

 practical difficulties associated with licensing enough individual works to amass such information,

 LLMs would likely not exist if required to license the works that make up their training datasets.

 The need to negotiate with large numbers of copyright owners, many with only small contributions

 to a training database, implies that the costs of licensing would exceed the incremental benefits

 conveyed by the licenses in a hypothetical competitive licensing market for LLM training

 materials.

        B.      The Agreements Plaintiffs Have Identified Do Not Indicate that There Is an
                Incipient Market to License Training Data

        34.     The hypothetical competitive market for training data would entail thousands of

 licenses for each AI firm. The existence of a few licenses—which address non-text data for image

 or music AI models and may be driven by idiosyncrasies of licensors and differences in the

 amounts of training data required for those products—does not demonstrate the practicability of a

 competitive market to license data to train LLMs.

        35.     Plaintiffs’ expert, Professor Smith, states that “several AI companies have publicly

 entered into license agreements concerning a variety of other forms of creative content.” 50

 Notably, Professor Smith does not claim to have identified licenses covering text for the purpose

 of training LLMs. Nor does he appear to have reviewed the agreements themselves. The licenses

 that Professor Smith enumerates either are not related to training LLMs or their terms are not clear.

 As a result, they do not support an inference that there is an incipient market to license all

 copyrighted textual data required for training LLMs.




 50
        Declaration of Michael D. Smith in Support of Plaintiffs’ Motion for a Preliminary
        Injunction (“Smith Declaration”), 11/17/23, ¶ 28.
                                                                                        18

Case 3:23-cv-01092        Document 67-19        Filed 01/16/24      Page 20 of 25 PageID #: 3225
          a) Stability AI. Stability AI trained its audio generation model with data from

              AudioSparx and claims that by partnering with a licensing company it “has

              permission to use copyrighted material.”51 The article that Professor Smith cites

              does not describe the nature of the partnership or the license, and specifically does

              not address whether it covered training. Moreover, the audio generator appears to

              have been trained on a single dataset of audio recordings, which indicates the data

              requirements required to train AudioSparx are far lower than the requirements

              faced by AI firms building cutting-edge LLMs. Thus, this example is not

              reflective of the burdens of licensing sufficient data to train an LLM.

          b) Generative AI by Getty Images. Getty worked with Nvidia to launch

              Generative AI by Getty Images. “Generative AI by Getty Images (yes, it’s an

              unwieldy name) is trained only on the vast Getty Images library, including

              premium content, giving users full copyright indemnification.”52 This example

              does not provide information relevant to licensing text from third parties to train

              LLMs. First, Getty trained the image generator using only its own data. Thus,

              the volume of information needed to train the AI model to generate images

              appears to be much lower than in the case of LLMs. Second, Getty assures users

              that they have copyright protection, which indicates the possibility that output

              from the model could infringe one of Getty’s images. Any licensing or other


 51
       Emilia David, “Stability AI Releases AI Audio Platform”, The Verge, September 13, 2023,
       available at https://www.theverge.com/2023/9/13/23871635/stability-ai-generative-audio-
       model-platform (accessed 1/7/2024).
 52
       Emilia David, “Getty made an AI generator that only trained on its licensed images, The
       Verge,           September         25,           2023,             available          at
       https://www.theverge.com/2023/9/25/23884679/getty-ai-generative-image-platform-
       launch (accessed 1/7/2024).
                                                                                            19

Case 3:23-cv-01092     Document 67-19         Filed 01/16/24      Page 21 of 25 PageID #: 3226
              considerations regarding potentially infringing output are separate from the issues

              raised using data for training.

          c) OpenAI-Associated Press. OpenAI has licensed news stories from Associated

              Press. According to OpenAI and Associated Press “‘The arrangement sees

              OpenAI licensing part of AP’s text archive, while AP will leverage OpenAI’s

              technology and product expertise[.]’”53 The description of the license does not

              indicate that OpenAI is paying to train its LLMs using the Associated Press’s

              articles. In fact, the description of the deal is substantially broader, with direct

              benefits to AP’s efforts to use AI.

          d) OpenAI-Shutterstock. OpenAI has licensed images54 and agreed to a license for

              “access to additional Shutterstock training data including Shutterstock’s image,

              video and music libraries and associated metadata.”55 Thus, the agreement to

              access Shutterstock’s data covers images, videos, music, and their associated

              metadata. The license is not reported to cover a text database. As described

              above, even if the licenses explicitly covered use of the images and music for

              training, these licenses are not informative about the hypothetical market for text

              data to train LLMs.




 53
       Matt O’Brien, “ChatGPT-maker OpenAI signs deal with AP to license news stories,” July
       13, 2023, available at https://perma.cc/HZF6-S7KF (accessed 1/7/2024).
 54
       “Shutterstock Partners with OpenAI and Leads the Way to Bring AI-Generated Content to
       All,” October 25, 2022, available at https://www.shutterstock.com/press/20435 (accessed
       1/7/2024).
 55
       “Shutterstock Expands Partnership with OpenAI, Signs New Six-Year Agreement to
       Provide     High-Quality      Training   Data,”    July   11,    2023,      available  at
       https://investor.shutterstock.com/news-releases/news-release-details/shutterstock-
       expands-partnership-openai-signs-new-six-year (accessed 1/7/2024).
                                                                                             20

Case 3:23-cv-01092     Document 67-19           Filed 01/16/24      Page 22 of 25 PageID #: 3227
        36.     As suggested by the examples above, there are several reasons that AI firms would

 “license” data. First, AI firms may license data for purposes that are not inconsistent with their

 beliefs that training LLMs with copyrighted data is fair use. Indeed, OpenAI has publicly

 maintained its position that training LLMs with copyrighted data is fair use.56 As described in the

 article discussing the license between OpenAI and Shutterstock, OpenAI licensed access to

 “Shutterstock data.” However, the article does not state that training uses are licensed. I

 understand that AI firms have purchased access to data to make it available for training without

 specifically licensing the underlying copyrights for training.

        37.     Second, some licenses with copyright owners supplying data to AI firms allow for

 the output of the AI firm’s models to reproduce the training data to a degree that is beyond fair

 use. For example, OpenAI recently “agreed to pay German media conglomerate Axel Springer,

 which publishes Business Insider and Politico, to show parts of articles in ChatGPT responses.”57




 56
        See, e.g., Silverman v. OpenAI, Inc., ECF No. 32, No. 23-cv-03416-AMO (N.D. Cal. Dec.
        8, 2023) at 2-3; Tremblay v. OpenAI, Inc., ECF No. 33, No. 23-cv-03223-AMO (N.D. Cal.
        Dec. 8, 2023) at 2-3; see also “OpenAI and Journalism,” OpenAI, January 8, 2024,
        available at https://openai.com/blog/openai-and-journalism (accessed 1/13/2024)
        (“Training is fair use, but we provide an opt-out because it’s the right thing to do”); OpenAI
        Letter Re: Notice of Inquiry and Request for Comment (Docket No. 2025-06), October 30,
        2023, p. 11 (“OpenAI believes that the training of AI models qualifies as a fair use, falling
        squarely in line with established precedents recognizing that the use of copyrighted
        materials by technology innovators in transformative ways is entirely consistent with
        copyright law.”)
 57
        Will Oremus and Elahe Izadi, “AI’s future could hinge on one thorny legal question,” The
        Washington          Post,      January         4,       2024,         available        at
        https://www.washingtonpost.com/technology/2024/01/04/nyt-ai-copyright-lawsuit-fair-
        use/ (accessed 1/7/2024).
                                                                                              21

Case 3:23-cv-01092        Document 67-19        Filed 01/16/24      Page 23 of 25 PageID #: 3228
 Thus, some licenses between AI companies and copyright owners cover uses other than training

 on publicly available content.58

        38.     Third, a license for access to data with a copyright owner that threatens to sue may

 be less expensive than defending a lawsuit, even if the AI firm expects to ultimately prevail.

        39.     In short, none of the licenses Professor Smith describes supports the conclusion that

 a hypothetical competitive market to license training data would be able to provide AI firms with

 sufficient data to train today’s cutting-edge LLMs, such as Claude.

        C.      Using Song Lyrics to Train LLMs Does Not Threaten Plaintiffs’ Existing
                Licenses

        40.     Plaintiffs’ opportunity cost of licensing data for training uses is zero or nearly zero.

 Training uses input data to teach an LLM how to process language and create new outputs.

 Moreover, such uses do not threaten Plaintiffs’ existing licenses. For example, licenses to existing

 lyric websites might be threatened by services that regurgitate a wide array of song lyrics over an

 extended period of time.59 However, training Claude or another LLM using text data does not use

 lyrics, or any other works, for the purpose of regurgitating training data as outputs.60 Claude’s use

 of lyrics combined with other inputs to create new content does not threaten existing licenses with

 licensed lyric websites.




 58
        See, e.g., “OpenAI and journalism,” OpenAI, January 8, 2024, available at
        https://openai.com/blog/openai-and-journalism (accessed 1/13/2024) (explaining
        OpenAI’s approach to licensing).
 59
        It would be cheaper and easier to obtain accurate song lyrics from a licensed site than to
        attempt to get an LLM to regurgitate a potentially incorrect or incomplete set of lyrics,
        assuming that the song of interest was “memorized” by the LLM and that potentially
        infringing outputs are not effectively filtered before presentation to the user.
 60
        Kaplan Declaration, ¶ 28.
                                                                                                     22

Case 3:23-cv-01092          Document 67-19       Filed 01/16/24      Page 24 of 25 PageID #: 3229
        I declare under penalty of perjury that to the best of my knowledge, information, and belief,

 the foregoing statements are true and correct.

        Executed on January 16, 2024 at Arlington, MA.




             Steven R. Peterson




                                                                                                  23

Case 3:23-cv-01092       Document 67-19           Filed 01/16/24   Page 25 of 25 PageID #: 3230
